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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 LUBBOCKDIVISION

UNITED STATES OF AMERICA,
  Plainffi,

                                                            NO.5:21-CR-ll0-01-H

MICHAEL DESHALIN TREVINO,
     Defendant.


               ORDER ACCEPTING REPORT AND RECOMMENDATION
                  OF TIIE TINITED STATES MAGISTRATE ruDGE
                         CONCERNING PLEA OF GI,JILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilry, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   6360)(l), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is conect, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea ofguilty and

Defendant is hereby adjudged guilty

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.
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         Dated December     L   ,2021

                                                             Lf
                                             JAMES WESLEY ENDRIX
                                             UNITED TATES DISTRICT JUDGE
